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                                 EXHIBIT 5
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  MUTUAL OF OMAHA
  MORTGAGE, INC.,

  Plaintiff,                              Civil Action No.: 22-CV-01660-TPB-JSS

      v.

  WATERSTONE MORTGAGE
  CORPORATION,

  Defendant.




                           Expert Report
                               June 5, 2023
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                         Mutual of Omaha Mortgage, Inc.

                                                            v.

                        Waterstone Mortgage Corporation




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             Exhibits:
             Steven S. Oscher’s Curriculum Vitae .............................Exhibit I
             Steven S. Oscher’s Rule 26 Disclosure ...........................Exhibit II
             Information Considered………………………………... Exhibit III
             Potential Damages Calculation Active Customer
             Loans.....................................................................................Exhibit IV
             Potential Damages Calculation Prior Customer
             Loans Exhibit ......................................................................Exhibit V
             Lost Corporate Profit Percentage ....................................Exhibit VI
             Branch Manager Loan Volume........................................Exhibit VII




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  UNDERSTANDING

       Mutual of Omaha Mortgage, Inc. (“Mutual” or the “Plaintiff”) is a residential
 mortgage lender with branch offices in multiple states. Former branch offices located in
 Tampa, FL (the “Tampa Branch”), Ormond Beach, FL (the “Daytona Branch”), and
 Paramus, NJ (the “Paramus Branch”), are the subject of the pending matter.


       Waterstone Mortgage Corporation (“Waterstone” or the “Defendant”) is also a
 licensed residential mortgage lender with branch offices in multiple states.


       Mutual alleged in its First Amended Complaint (the “Amended Complaint”) that
 Waterstone:
       1. Solicited and hired over sixty (60) Mutual employees who were bound by
           Employment Agreements with Mutual at the time of their departure;
       2. Caused the closure of its Tampa, Daytona, and Paramus Branches; and
       3. Encouraged and assisted the Mutual employees hired by Waterstone to breach
           their Employment Agreements as follows:
               a. To solicit additional Mutual employees for employment with
                  Waterstone (violates non-solicitation provision),
               b. To disclose Mutual’s confidential and trade secret information to
                  Waterstone (violates the confidentiality and trade secret provisions),
               c. To divert borrowers from Mutual to Waterstone (violates the duty of
                  loyalty provision and/or the non-solicitation provision), and
               d. To share personal borrower information for customers of Mutual with
                  Waterstone (violates the provision prohibiting disclosure of personal
                  borrower information to any unauthorized person and/or the
                  confidentiality and trade secrets provision).




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          Mutual has alleged economic damages, as stated in its Second Amended
 Responses and Objections to Defendant Waterstone Mortgage Corporation’s First Set of
 Interrogatories (“Mutual’s Second Amended Responses”), for the following three (3)
 categories:
              1. “Lost revenue and profits from loans that were improperly diverted from
                   Plaintiff to Defendant.”1
              2. “Profits Plaintiff would have made but for the Defendant’s unlawful
                   conduct, which caused Plaintiff to have to close its branches in Tampa and
                   Daytona Beach. Plaintiff calculates its lost profit damages over the 18-
                   month period beginning June 30, 2022 and ending on December 31, 2023
                   based on the prior financial performance of the two branches. From June
                   30, 2022 to December 31, 2023 the Tampa branch would have yielded profits
                   in the amount of $2,716,040.53, and the Daytona Beach branch would have
                   yielded profits in the amount of $1,723,961.89, for a total of $4,440,002.42.”2
              3. “Ill-gotten gains, including compensation paid or advanced by Defendant
                   to Plaintiff’s prior employees in exchange for the unlawful conduct that
                   caused the closure of two of Plaintiff’s branches. Specifically, documents
                   belatedly produced by Defendant in this action show that Defendant paid
                   large bonuses – disguised by Defendant as “Branch Financial Credits” – to
                   two of Plaintiff’s former employees, $500,000 to Chris Smith and $250,000
                   to Dwayne Hutto. Plaintiff believes Defendant offered and paid these large
                   bonuses – which are disproportionate to the employees’ salaries – in
                   exchange for the individuals’ participation in Defendant’s unlawful
                   scheme, and not merely as bonuses for the services provided by the
                   individuals.”3


 1 Plaintiff Mutual of Omaha Mortgage, Inc.’s Second Amended Responses and Objections to Defendant Waterstone Mortgage

 Corporation’s First Set of Interrogatories, Response to Interrogatory 1 at pg. 5.
 2 Plaintiff Mutual of Omaha Mortgage, Inc.’s Second Amended Responses and Objections to Defendant Waterstone Mortgage

 Corporation’s First Set of Interrogatories, Response to Interrogatory 1 at pgs. 27-28.
 3 Plaintiff Mutual of Omaha Mortgage, Inc.’s Second Amended Responses and Objections to Defendant Waterstone Mortgage

 Corporation’s First Set of Interrogatories, Response to Interrogatory 1 at pgs. 28-29.


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        Waterstone has engaged Oscher Consulting, PLLC and Steven S. Oscher
 (“Oscher”) to review, analyze, and opine on the Plaintiff’s alleged economic damages and
 to prepare a report on his findings.



  BACKGROUND

        Steven S. Oscher (“Oscher” or “Dr. Oscher”) holds a Doctorate in Business
 Administration from the University of South Florida. He is a member of Oscher
 Consulting, PLLC, a Certified Public Accounting firm. Dr. Oscher is a Certified Public
 Accountant (“CPA”) and has been accredited by the American Institute of CPAs in the
 areas of Business Valuation and Financial Forensics. Dr. Oscher has been accredited as a
 Certified Fraud Examiner. He has worked on numerous engagements involving forensic
 accounting issues, investigations of fraudulent conduct and the analysis of economic
 damages.


        A copy of Dr. Oscher’s curriculum vitae is attached as Exhibit I. A listing of cases
 in which Dr. Oscher has provided testimony at trial or deposition is attached as Exhibit
 II. Dr. Oscher is compensated at the rate of $450 per hour.



 INFORMATION CONSIDERED


        The information we considered in forming our opinions in this matter is identified
 in Exhibit III.




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   FINDINGS

          The Plaintiff designated Jeff Gennarelli (“Mr. Gennarelli”), President of Forward
 Mortgage at Mutual of Omaha Mortgage, as the corporate representative who would
 testify regarding the economic damages sought in the pending matter. He and Bernard
 Mayle (“Mr. Mayle”), Senior Vice President of Finance at Mutual of Omaha Mortgage,
 worked together to create Mutual’s damage model and calculate the economic damages
 claimed in Mutual’s Second Amended Responses.4


          A summary of the alleged damages detailed in Mutual’s Second Amended
 Response to Interrogatory 1 (which seeks disclosure of Mutual’s damages) is as follows:


                        Damage Category                                Damages Sought
                    #1 – Diverted Loans                      No monetary demand provided
                    #2 – Closing of Offices                               $ 4,440,002.42
                    #3 – Ill-gotten gains                                 $    750,000.00


          My opinion in response to Mutual’s demand is as follows:



   Damage Category #1 – Loans Diverted from Mutual to Waterstone


          Mutual alleged loans were improperly diverted from Plaintiff to Defendant. Mr.
 Gennarelli testified at the May 25, 2023 corporate representative deposition that Mutual
 is seeking lost profits (not revenue) from those loans.5 The Plaintiff has not provided a
 monetary demand or calculation of damages related to the alleged diverted loans. Mr.
 Gennarelli as Mutual’s corporate representative confirmed that, “I don’t have a number



 4 Plaintiff Mutual of Omaha Mortgage, Inc.’s Responses and Objections to Defendant Waterstone Mortgage Corporation’s

 Second Set of Interrogatories, Response to Interrogatory 9 at page 5.
 5 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 32:25-33:9.




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 with respect to Bucket 1.”6 In addition, Mr. Gennarelli testified he was not able to testify
 as to the Category #1 damages sought, and that Mutual has made no attempt to calculate
 those damages:
           Q: Is Mutual seeking damages with respect to Bucket 1?
           A: I believe so.
           Q: But you’re not able to tell me what those damages are?
           A: Not at this moment.
           Q: Have you or anyone at Mutual made an attempt to calculate those damages?
           A: I have not.
           Q: Has anyone at Mutual?
           A: Not that I’m aware of.7


           It is my understanding that Mutual has the burden of demonstrating its damages
 and has made no effort to do so.


           To evaluate the claim for diverted loans, we analyzed the Mutual pipeline for the
 Tampa, Paramus, and Daytona branches and compared it to the loans closed at
 Waterstone’s Tampa, Daytona, and Paramus branches. Documents produced by Mutual8
 were used to compile a database of loans in the Mutual pipeline for those branches. The
 loan pipeline included loan application dates from June 22, 2019 to June 13, 2022.


           After removing duplicates (i.e., loans listed in more than one individual loan
 officer’s pipeline) Mutual’s potential loan population consisted of 2,203 loans. These


 6 Id. at 25:14-20.
 7 Id. at 25:21-26:6.
 8 MOM-0005885, MOM-0009201, MOM-0009245, MOM-0009248, MOM-0009246, MOM-0009254, MOM-0009261, MOM-

 0009313, MOM-0009323, MOM-0009324, MOM-0009325, MOM-0009326, MOM-0009327, MOM-0009328, MOM-0009329,
 MOM-0009330, 0009331, MOM-0009338, MOM-0009971, MOM-0009975, MOM-0009983, MOM-0009984, MOM-0009988,
 MOM-0009989, MOM-0009994, MOM-0009998, MOM-0010002, MOM-0010003, MOM-0010008, MOM-0010012, MOM-
 0010013, MOM-0010018, MOM-0010019, MOM-0010024, MOM-0010025, MOM-0010026, MOM-0010030, MOM-0010031,
 MOM-0010038, MOM-0010041, MOM-0010043, MOM-0010052, MOM-0010087, MOM-0010101, MOM-0010102, MOM-
 0010103, MOM-0010104, MOM-0010105, MOM-0010106, MOM-0010107, MOM-0010108, MOM-0010498, and MOM-
 0010503.


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 potential loans were identified in Mutual’s documents as either active or closed. Closed
 loans include those that Mutual categorized as “application denied” or “application
 withdrawn” or “loan originated” whereas loans categorized as “approval” or “approved
 w cond” were considered active. The potential loan population is as follows:




                                           Mutual Loan Population
                   Classification              Number of Loans                      Loan Value
                        Active                            107                       $ 30,838,966
                        Closed                          2,096                         578,027,043
                         Total                          2,203                       $608,866,009


          The names of the customers with loans included in Mutual’s total loan population
 were cross referenced with the names of customers with loans closed at Waterstone’s
 Tampa, Daytona, and Paramus branches from May 2, 2022 to April 7, 2023.9 For each
 customer referenced in both databases, Oscher reviewed the loan information compiled
 to categorize the loans as follows:


               •    Active Customer Loans - A customer loan file started at Mutual that did
                    not close at Mutual and was subsequently closed at Waterstone; or
               •    Prior Customer Loans - If there was a customer loan file closed (i.e., loan
                    funded, application denied, application withdrawn, etc.) at Mutual and
                    subsequently Waterstone closed a loan for that same customer.


          This analysis identified nine (9) Active Customer Loans, with a total loan value of
 $2,989,497 (Exhibit IV). In addition, eleven (11) Prior Customer Loans were identified,
 with a total loan value of $3,860,033 (Exhibit V).


 9 See New Jersey Fundings through April 5 2023, Ormond Beach Fundings through April 5, 2023, and Tampa Fundings through

 April 5, 2023 at WMC012767-012769.


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          Next, Oscher relied upon Mutual’s historical financial data as used in Mutual’s
 Damage Category #2 (closed branches) to estimate the potential economic loss Mutual
 might have claimed for Mutual’s Category #1 (diverted loans) damages.10 We calculated
 Mutual’s potential Lost Corporate Profit Percentage to be 0.86% (Exhibit VI).

          The potential Lost Corporate Profit Percentage was applied to both the identified
 Active and Prior Customer Loans. Potential damages associated with the nine (9) Active
 Customer Loans are $25,709.67. Potential damages associated with the eleven (11) Prior
 Customer Loans include $7,565.35 (occurring 0 – 12 months after the prior loan file was
 closed), $13,586.63 (12 – 18-month subsequent loans), and $12,044.30 (over 18 months
 subsequent loans) for total potential damages related to the Prior Customer Loans of
 $33,196.28.



   Damage Category #2 – Closing of Branch Offices (Tampa and Daytona)


          Mutual created MOM-0003484, the Summary of Corporate Earnings Contribution
 from Tampa and Daytona Branches (“Summary of Corporate Earnings Contribution”) to
 support its claim of $4,440,002.42 in damages associated with the closing of its branches.
 We noted that the relevant data used as the basis for this calculation was derived from
 documents Mutual failed to produce. Specifically, Mr. Gennarelli testified that the basis
 for the loan volumes used in Mutual’s damages calculation was data in Mutual’s system
 that Mutual refused to produce.11 Mr. Gennarelli was also asked to support the corporate
 profits multiplier used in Mutual’s damages calculation. In response, Mr. Gennarelli
 testified: “I don’t really know what’s in there. I don’t really know if there’s a – if there’s
 a corporate P&L or we can use the Richey May documents. I don’t know.” 12 When



 10 Oscher used Mutual’s Category #2 methodology to estimate what Mutual might claim if it had calculated damages for

 Category 1 but does not credit Mutual’s Category #2 methodology.
 11 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 154:10-22.
 12 Id. at 158:17-159:1.




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 presented with the Richey May documents, however, Mr. Gennarelli testified “I’m afraid
 you’re going to need an accountant to figure this out. . . . . This is not going to be helpful
 to us.”13 Mr. Gennarelli also testified that looking at Mutual’s “tax returns are going to
 make it more tricky” and that instead a corporate P&L statement should be used.14
 However, the P&L statements Mutual claimed it referred to or relied upon for its
 damages analysis15 consist of branch level P&Ls that Mr. Gennarelli testified he did not
 rely upon.16


           Without the supporting documentation relied upon by Mutual, the demand
 reflected in MOM-0003484 is unsupported and cannot be verified or tested.


           We noted that certain aspects of the calculation involved unsupported
 assumptions. For example, Mutual’s damages are based on the alleged profits Mutual
 would have enjoyed had the three branches stayed open for another 18 months. There
 were no contracts requiring employees to stay employed for the 18-month period. While
 the employees are alleged to have a non-solicit agreement that prohibits them from
 recruiting other employees, this non-solicit period extends for 12 months following
 separation.

           Mutual’s inclusion of the volumes of loans attributable to the three branch
 managers: Dwayne Hutto (“Mr. Hutto”), Christopher Smith (“Mr. Smith”), and
 Christopher Wolf (“Mr. Wolf”) (collectively, the “Branch Managers”), who left Mutual to
 work for Waterstone is without foundation as Mr. Gennarelli acknowledged that there is
 nothing unlawful about Waterstone recruiting the Branch Managers.17




 13 Id. at 159:2-21.
 14 Id. at 134:7-15.
 15 Plaintiff Mutual of Omaha Mortgage, Inc.’s Responses and Objections to Defendant Waterstone Mortgage Corporation’s

 Second Set of Interrogatories, Response to Interrogatory 10 at page 5.
 16 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 136:8-138:1.
 17 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 76:22-78:1; see also id. at 78:19-25 and 92:6-8.




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          To the extent that the Trier of Fact determines that the Defendant’s recruitment of
 Messrs. Hutto, Smith, and Wolf should be considered, the loan volumes produced by
 these three (3) Branch Managers should not be included in the damage calculation.


          Oscher utilized the branch P&Ls produced by Mutual for the years 2019, 2020,
 2021, and the period ended June 30, 202218 to aggregate the annual loan volume
 attributable to each Branch Manager. These loan volumes were then compared to the
 annual loan volumes for each branch to determine what percentage of the total loan
 volume was comprised of loans originated by the Branch Managers. Exhibit VII details
 the percentage of branch loan volume accounted for by the Branch Managers. The loan
 volume percentages originated by the Daytona Branch Managers ranged from 44.77% to
 47.77%, while the Tampa Branch Managers originated 11.61% to 18.83% of loan volume.


          While Mutual could have excluded the loans originated by the Branch Managers
 from its forecast, it chose not to. Similarly, Mutual has not considered the extent to which
 employees left Mutual due to relationships with the Branch Managers, which predated
 their employment at Mutual, or due to natural attrition within the branches.


          Mutual projected lost profits for 18 months into the future by looking at its
 historical, unsupported profit information dating back to 2019, including 2020 and 2021
 which Mr. Gennarelli acknowledged were highly anomalous years for the mortgage
 industry, with activity triggered by the COVID-19 pandemic, with 2020 in particular
 being “absolutely” a record year for Mutual, a “record high” for the branches at issue,
 and a “historically anomalous year for the industry.”19




 18 “Branch P&Ls” - MOM-0010964, MOM-0010965, MOM-0010988, MOM-0010989, MOM-0011012, MOM-0011013, MOM-

 0011025, and MOM-0011026.
 19 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 163:10-164:24.




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          To evaluate the reasonableness of Mutual’s projections, we obtained the Mortgage
 Bankers Association (“MBA”) published data on historical loan originations which we
 used to analyze the trends in the mortgage industry as well as the industry outlook over
 the relevant time frame.


          We compared the Mutual damage model to the Mortgage Banker’s Association
 May 19, 2023 Mortgage Finance Forecast20 to see how the actual and forecasted quarterly
 loan volumes at Mutual compared to the mortgage industry. We noted that Mutual
 appears to trend closely to the mortgage industry, from Q1 2019 to Q3 2022. The
 forecasted revenue prepared by Mutual for their damage calculation is not consistent
 with the industry’s projections as shown in the following chart.21




 20 MBA Mortgage Finance Forecast dated May 19, 2023. https://www.mba.org/docs/default-source/research-and-

 forecasts/forecasts/2023/mortgage-finance-forecast-may-2023.pdf?sfvrsn=4bf1d1a7_1
 21 Sources: (1) Mutual 2019 Q1 includes $720,316 in loan volume (2.23% of total loan volume) from the acquired company

 BBMC. (2) Mutual Actual and Forecast Loan Volumes from Branch P&Ls and Damage Model (MOM-0003484). (3) MBA
 Actual and Forecast Loan Volumes from MBA Finance Forecast (May 2023).


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   Damage Category #3 – Ill-gotten Gains


          Mutual has alleged that “Branch Financial Credits” extended in connection with
 Waterstone’s hiring of the Branch Managers should be considered its economic losses.

          Based on my review of the documentation produced, the $750,000 in question
 were not gains enjoyed by Waterstone. They are expenses incurred by Waterstone, not
 gains to the Defendant, Waterstone. Mutual acknowledged that this Category #3 is not
 money Waterstone received but rather money Waterstone paid out:
          Q: . . . so this is money that Waterstone is paying out to the employees; correct?
          A: Yes.
          Q: It’s not money that Waterstone is enjoying. It’s a cost to Waterstone; correct?
          A: Correct.
          ***
          Q: Sure. The employees gained the money, not Waterstone; right?
          A: Yeah.
          Q: Mutual claims these ill-gotten gains to Waterstone that actually went to the
 employees and not Waterstone consists of $500,000 that Waterstone paid to Chris Smith
 and $250,000 that Waterstone paid to Dwayne Hutto for a total of $750,000; correct?
          A: Yes.22




 22 Mutual Corporate Representative (Jeff Gennarelli) Dep. Tr. at 63:23-64:18.




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   CONCLUSION

       Mutual has either failed to quantify its alleged economic losses, or it has put
 forward calculations that are unsupported and are based on unreasonable assumptions.
 My conclusions as to Mutual’s three categories of damages are as follows:


           •   As to Damage Category 1: Loans Diverted from Mutual to Waterstone
                  o The Plaintiff has not calculated an economic loss. At his deposition,
                     Mr. Gennarelli testified that neither he nor anyone else at Mutual has
                     attempted to calculate these damages.
                  o My analysis demonstrates that the potential economic loss Mutual
                     might have claimed, assuming liability, is between $25,700 and
                     $58,900.
           •   As to Damage Category 2: Closing of Branch Offices (Tampa and Daytona)
                  o This category of damages is unsupported and cannot be verified, as
                     Mr. Gennarelli acknowledged at his deposition.
                  o Mutual has calculated damages over an 18-month period, which is
                     not supported by the employment agreements that are at issue in
                     this matter.
                  o Mutual has based its 18-month forecast on historical periods that
                     were anomalous, and that forecast is not consistent with industry
                     expectations.
                  o While acknowledging that there was nothing unlawful in
                     Waterstone recruiting the Branch Managers, Mutual has included
                     loans originated by the Branch Managers in its forecast of profits
                     from the closed branches.
                  o Mutual has not considered other factors which would cause
                     employees to resign, such as professional relationships or natural




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                                                                       Page 17 of 31 PageID 1233 I


                      STEVEN S. OSCHER – DBA, CPA, ABV/CFF, CFE
 Education:
                        •   Doctor of Business Administration, 2017
                             University of South Florida- Muma College of Business
                        •   B.S. Accounting, 1977 University of South Florida
                        •   Continuing professional education as an instructor and student

 Employment:
                        1990 – Present    Oscher Consulting
                        2017 – 2020       University of South Florida
                                          Adjunct Instructor
                        1990 – 1991       Coopers & Lybrand - Consultant
                        1984 – 1990       Laventhol & Horwath - Partner
                                          Director, Litigation Support Services
                                          Director, Accounting & Auditing Services
                        1981 – 1984       Coopers & Lybrand - Audit Manager
                        1977 – 1981       Grant Thornton - Audit Supervisor

 Professional:
 (current and past)
                        •   AICPA- ABV Designation (Accredited in Business Valuation) and
                            CFF Designation (Certified in Financial Forensics)
                        •   Florida Institute of CPAs
                        •   Association of Certified Fraud Examiners (Accredited as a CFE)
                        •   FICPA Valuation and Litigation Section Steering Committee
                        •   USF School of Accountancy, Past Chairman Advisory Board
                        •   USF College of Business, Deans Advisory Board
                        •   National Association of Forensic Economists
                        •   Florida State Board of Accountancy, past Chairman and Vice Chairman
                        •   American Arbitration Association, National Roster of Neutrals member
                        •   Thirteenth Judicial Circuit Business Courts - Committee Member
                        •   Hillsborough County Bar Foundation Board of Trustees, Treasurer
 Community:
 (current and past)
                        •   USF Physicians Group of the USF College of Medicine, University Medical
                               Service Association, Inc. and USF Medical Services Support
                               Corporation-Board of Directors-Audit Committee Chairman
                        •   Florida Bar Grievance Committee
                        •   Leadership Tampa, Past Chairman
                        •   University of South Florida
                               National Alumni Association, Past President
                        •   Hillsborough County Bar Association-Associate Member
                        •   Sun Dome, Inc., Board of Directors President-Audit Committee Chairman
                        •   The Florida Aquarium, Board of Directors
                        •   Judicial Nominating Commission, Thirteenth Circuit, Former
                            Commissioner
                        •   Florida BOA Independence Task Force Committee, Former Chairman
                        •   USF Center for Entrepreneurship, Board Member

 Military:
                        •   1966 – 1972   U.S. Navy - Submarine Service; Clearance: Top Secret
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                                                                                                               1234II


                                                   STEVEN S. OSCHER
                                                 OSCHER CONSULTING
                                               LITIGATION BACKGROUND


                 FIRM                           CASE NUMBER                                       CASE NAME

Douglas Szabo                            In the Circuit Court of the Ninth   Design Pallets, Inc. vs. Lifdek Corporation; Joseph J.
Henderson, Franklin, Stearnes & Holt     Judicial Circuit in and for         Dank; Chris Gabrys; and Neil Schopke
1715 Monroe St.                          Orange County, Florida
Fort Myers, FL 33901                     Case No. 2015-CA-7137-0
Phone: 239-344-1260

Marshall Rainey                          In the Circuit Court of the Tenth   Guyer Corral Ventures, LLC vs. Hughes Construction,
Burr & Forman                            Judicial Circuit in and for Polk    Inc. vs. J. Gross Structures, Inc. and Pardue Masonry of
201 N Franklin St., Suite 3200           County, Florida                     Central Florida, Inc.
Tampa, FL 33602                          Civil Division
Phone: 813-367-5761                      Case No. 2014-CA-001601

Kenneth G. Turkel                        In the Circuit Court of the         LDRV Holdings Corp. d/b/a Lazydays RV, a Delaware
Bajo, Cuva, Cohen, Turkel                Thirteenth Judicial Circuit in      Corporation vs. REV Recreation Group, Inc. f/k/a
100 North Tampa Street, Suite 1900       and for Hillsborough County,        Allied Recreation Group, Inc., a Delaware Corporation
Tampa, Fl 33602                          Florida General Civil Division
Phone: 813-443-2199                      Case No. 18-CA-000225

Jonathan B. Sbar                         United States District Court        Financial Information Technologies, LLC vs. iControl
Rocke, McLean & Sbar, P.A.               Middle District of Florida          Systems, USA, LLC
2309 S. MacDill Avenue                   Tampa Division
Tampa, FL 33629                          Case No. 8:17-cv-00190-T-
Phone: 813-769-5600                      23MAP


John A. Anthony                          In the Circuit Court of the         Slice & Rice, Inc. vs. CCP Harbour Island, LLC
Anthony & Partners, LLC                  Thirteenth Judicial Circuit
201 North Franklin Street, Suite 2800    Hillsborough County, Florida
Tampa, Florida 33602                     Civil Division
Phone: 813-273-5616                      Case No. 16-CA-003845

Ronald E. Bush                           In the Circuit Court of the Sixth   Doreen L. Gilbert and Allen F. Gilbert vs. Jennifer D.
Bush, Graziano, Rice & Platter, P.A.     Judicial Circuit in and for Pasco   Nuss, M.D., Carolyn E. Johnstone, M.D., Florida EM-I
100 S. Ashley Drive, Suite 1400          County, Florida Civil Division      Medical Services, P.A., Baxley Emergency Physicians,
Tampa, Florida 33602                     Circuit Civil Case No. 2015 CA      LLC, Siddharth H. Shah, M.D., Siddharth H. Shah,
Phone: 813-302-1418                      1442 WS                             M.D., P.A., d/b/a Bay View Neurology, Shiv K.
                                                                             Aggarwal, M.D., Shiv Aggarwal, M.D., P.A., and New
                                                                             Port Richey Hospital, Inc., d/b/a Medical Center of
                                                                             Trinity

William J. Schifino, Jr.                 American Arbitration                Jefferson Trupp, M.D. vs. Panama City Urological
Burr Forman                              Association                         Center, P.A., a Florida Professional Association;
201 N. Franklin St. Suite 3200           Case No. 16-000751-CA               Advanced Urology Institute, L.L.C., a Florida Limited
Phone: 813-221-1764                                                          Liability Company




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                                                   STEVEN S. OSCHER
                                                 OSCHER CONSULTING
                                               LITIGATION BACKGROUND


                 FIRM                           CASE NUMBER                                       CASE NAME


Luis Santos                              In the Circuit Court of the         Sharon D. Ford vs. Lincare Holdings Inc.
Ford Harrison                            Thirteenth Judicial Circuit in
101 E. Kennedy Blvd. Suite 900           and for Hillsborough County,
Tampa, FL 33602                          Florida Civil Division
Phone: 813-261-7852                      Case No. 17-CA-1588

James C. Valenti                         In the Circuit Court of the Tenth   David Ricketts vs. Fleetwing Corporation, a Florida
James C. Valenti, P.A.                   Judicial Circuit in and for Polk    Corporation
500 S. Florida Ave., Suite 410           County, Florida Civil Division
Lakeland, FL 33801                       Case No. 2016-CA-000137
Phone: 863-937-6056

John A. Anthony                          In the Circuit Court of the         Jackson's Bistro and Bar, L.C., a Florida limited liability
Anthony & Partners, LLC                  Thirteenth Judicial Circuit in      company vs. CCP Harbour Island LLC, a Florida
201 North Franklin Street, Suite 2800    and for Hillsborough County,        limited liability Company
Tampa, Florida 33602                     Florida
Phone: 813-273-5616                      Case No. 16-CA-005311

Clif Curry                               In the Circuit Court of the         Keri Clare, Petitioner/Former Wife, and Michael P.
Curry Law Group, P.A.                    Thirteenth Judicial Circuit in      Clare, Respondent/Former Husband
750 Lumsden Rd.                          and for Hillsborough County,
Brandon, Florida 33511                   State of Florida Family Law
Phone: 813-653-2500                      Division
                                         Case No. 14-DR-7597
Scott A. Stichter                        United States Bankruptcy Court      John Allen Yanchunis, Sr. vs. James Hoyer, P.A., f/k/a
Stichter Riedel Blain & Prosser, P.A.    Middle District of Florida          James, Hoyer, Newcomer & Smiljanich, P.A., f/k/a
110 East Madison Street, Suite 200       Tampa Division                      James, Hoyer, Newcomer, Smiljanich & Yanchunis,
Tampa, Florida 33602                     Case No. 8:16-bk-10109-MGW          P.A.; Founders Funding Group, LLC; W. Christian
Phone: 813-229-0144                                                          Hoyer; and John R. Newcomer, Jr., and Nancy Harrison

Richard T. Heiden                        American Arbitration                American Income Life Insurance Company vs. Abdel
Richard T. Heiden, P.A.                  Association                         Alkurdi, a/k/a Abdel Al-Kurdi, a/k/a Al Kirby, a/k/a Al
2723 State Road 580                      AAA Docket Number:                  Alkurdi, a/k/a Abdel Latif Ahirab Al-Kurdi and
Clearwater, Florida 33761                01-18-0002-2077                     Innovative Insurance Brokers, Inc., a New York
Phone: 727-771-7888                                                          corporation

Chris Haaf                               In the United States District       Movement Mortgage, LLC vs. AmeriFirst Financial
Kilpatrick Townsend & Stockton, LLP      Court for the Middle District of    Corporation d/b/a AmeriFirst Home Mortgage
1001 W 4th Street                        Florida Tampa Division
Winston-Salem, North Carolina 27101      Case No. 8:18-cv-00577-VMC-
Phone: 336-607-7300                      MAP

J. Todd Timmerman                        United States District Court for    Spartan Chemical Company, Inc. vs. Ecolab Inc.
Shumaker                                 the Northern District of Ohio
101 E Kennedy Blvd., Suite 2800          Western Division
Tampa, Florida 33602                     Case No. 3:18-cv-00831
Phone: 813-227-2243




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                                                 STEVEN S. OSCHER
                                               OSCHER CONSULTING
                                             LITIGATION BACKGROUND


                 FIRM                         CASE NUMBER                                     CASE NAME


Frank R. Jakes                         In the United States District      K.E.L.K. Corp., f/k/a Solar Sense Corporation, a
Johnson Pope Bokor Ruppel & Burns,     Court for the Middle District of   Florida corporation vs. CCA Industries, Inc., d/b/a Core
LLP                                    Florida Tampa Division             Care America, a Delaware corporation
401 E Jackson Street, Suite 3100       Case No. 8:18-cv-00644-JSM-
Tampa, Florida 33602                   JSS
Phone: 813-225-2500 ext. 2050

John A. Anthony                        In the United States District      Centennial Bank, an Arkansas state chartered bank vs.
Anthony & Partners, LLC                Court Middle District of Florida   ServisFirst Bank, Inc., an Alabama state chartered bank,
201 N Franklin Street, Suite 2800      Tampa Division                     Gregory W. Bryant, an individual, Patrick Murrin, an
Tampa, Florida 33602                   Case No. 8:16-cv-00088-CEH-        individual, Gwynn Davey, an individual, and Jonathan
Phone: 813-273-5066                    JSS                                Zunz, an individual

Robert vs. Williams                    In the Circuit Court of the        Linda J. Lack, an individual vs. Stephen W. Jones, an
Burr & Forman LLP                      Thirteenth Judicial Circuit In     individual, SimPhonics, Inc., a Florida corporation, and
201 N Franklin Street, Suite 3200      and for Hillsborough County,       Vplus, a Florida corporation
Tampa, Florida 33602                   Florida Complex Business
Phone: 813-367-5712                    Litigation Division
                                       Case No. 17-CA-009893
Dominick J. Graziano                   In the Circuit Court of the        Wood Carvers Supply, Inc., a foreign corporation
Bush Graziano Rice & Platter, P.A.     Twentieth Judicial Circuit, in     authorized to do business in Florida, Master Carver,
101 E Kennedy Blvd., Suite 1700        and for Charlotte County,          Inc., a Florida corporation, Timothy C. Effrem and
Tampa, Florida 33602                   Florida                            Deborah E. Effrem, Individuals vs. Paradise Foam,
Phone: 813-228-7000                    Case No. 17-000511-CA              LLC, a Florida limited liability company, Grande Aire
                                                                          Services, Inc., a Florida corporation
Stephenie Anthony                      United States Bankruptcy Court     Periwinkle Partners LLC, a Florida limited liability
Anthony & Partners, LLC                Middle District of Florida Fort    company
201 N Franklin St., Suite 2800         Myers Division
Tampa, Florida 33602                   Case No. 9:18-bk-06721
Phone: 813-273-5616                    Chapter 11

Robert M. Quinn                        United States District Court       Amalie Oil Company vs. TC Chemicals, LLC d/b/a
Carlton Fields                         Middle District of Florida         Third Coast Chemicals, Third Coast Chemicals, LLC,
4221 W. Boy Scout Blvd., Suite 1000    Tampa Division                     and Third Coast Chemicals, Ltd.
Tampa, Florida 33607                   Case No. 8:18-cv-1155-T-36-
Phone: 813-229-4217                    AAS

Edmund S. Whitson III                  United States Bankruptcy Court     Able Body Temporary Services, Inc., Westward Ho,
Adams and Reese, LLP                   Middle District of Florida         LLC, Westward Ho II, LLC, PreferAble People HQ,
101 E. Kennedy Blvd., Suite 4000       Tampa Division                     LLC, Cecil B Bedoone, LLC, ABTS Holdings, LLC,
Tampa, Florida 33602                   Case No. 8:13-bk-06864-CED         Professional Staffing - A.B.T.S., Inc., Rotrpick, LLC,
Phone: 813-227-5542                                                       YJNK II, Inc., Organized Confusion, LLP, USL&H
                                                                          Staffing, LLC, YJNK VIII, LLC, Training U, LLC,
                                                                          YJNK XI CA, LLC, YJNK III, INC., Able Body Gulf
                                                                          Coast, Inc. vs. Regions Bank




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                                                    STEVEN S. OSCHER
                                                  OSCHER CONSULTING
                                                LITIGATION BACKGROUND


                 FIRM                            CASE NUMBER                                       CASE NAME

William E. Grob                           In the Circuit Court of the 17th    Land & Sea Petroleum Holdings, Inc. vs. Steven Leavitt
Ogletree Deakins Nash Smoak & Stewart,    Judicial Circuit, In and For        and Atlas Oil Supply Company of Florida, a/k/a Atlas
P.C.                                      Broward County, Florida             Oil Company
100 N. Tampa St., Suite 3600              Case No. 13-07421(25)
Tampa, Florida 33602
Phone: 813-221-7228
John Barr                                 In the Circuit Court of the         Dr. Wanda Espinoza-Cruz vs. Florida EM-I Medical
Law Office of John M. Barr, P.C.          Thirteenth Judicial Circuit In      Services, P.A., EmCare, Inc. and HCA, Inc.
4105 Stuart Ave.                          and For Hillsborough County,
Richmond, VA 23221                        Florida Civil Division
Phone: 804-269-5078                       Case No. 15-CA-001112 DIV: G


Pedro F. Bajo Jr.                         In the Circuit Court of the         Counsel Financial Services, LLC vs. Barry A. Cohen
Bajo Cuva Cohen Turkel                    Thirteenth Judicial Circuit In      P.A., a Florida corporation
100 N. Tampa St., Suite 1900              and For Hillsborough County,
Tampa, Florida 33602                      Florida Civil Division
Phone: 813-443-2199                       Case No. 19-CA-00740
                                          Division: F

Stuart J. Levine                          In the United States District       Zurich American Insurance Company vs. John Edward
Walters Levine Lozano DeGrave             Court For the Middle District of    Walker Hardin, Leasing Resources of America 4, Inc.,
601 Bayshore Blvd., Suite 720             Florida Tampa Division              and Cohesive Networks, Inc.
Tampa, Florida 33606                      Case No. 8:14-cv-00775-SDM-
Phone: 813-295-6930                       AAS

Patrick G. Gilligan                       In the Circuit Court of the Fifth   Insurance Office of Raymond N. Strickland, Jr., Inc. vs.
Gilligan, Gooding, Franjola & Batsel,     Judicial Circuit, In and For        Vicki L. Graves, Insurance Office of America, Inc.,
P.A.                                      Marion County, Florida              Christopher Labrecque, Anthony Tatum, James Powell,
1531 SE 36th Avenue                       Case No. 2016-2192-CA-B             and Kelsey Haas
Ocala, Florida 34471
Phone: 352-867-7707

John A. Anthony                           In the Circuit Court For the        William Bostick, III, an individual vs. Commercial
Anthony & Partners, LLC                   Tenth Judicial Circuit In and For   Warehousing, Inc., a Florida Corporation
201 N Franklin Street, Suite 2800         Polk County, Florida Civil
Tampa, Florida 33602                      Division
Phone: 813-273-5066                       Case No. 2018CA-004914

George L. Guerra                          In the Circuit Court of the Sixth   Aileron Holdings, LLC, a Florida limited liability
Wiand Guerra King                         Judicial Circuit In and For         company, Aileron Investment Management, LLC, a
5505 W. Gray Street                       Pinellas County, State of Florida   Florida limited liability company, Aileron Re
Tampa, Florida 33609                      Civil Division                      Opportunities Fun I, LLC, a Florida limited liability
Phone: 813-347-5102                       Case No. 18-004339-CI               company vs. Joseph R. Bonora, an individual, JRB
                                                                              Holdings, LLC, a Florida limited liability company,
                                                                              Michael S. Maguire, an individual, Bryn Capital
                                                                              Advisors II, Incorporated, a Florida corporation, Justin
                                                                              Blackhall, an individual, Blackhall, P.C., a New York
                                                                              professional corporation, and Silver Hawk Loan
                                                                              Services, LLC, a Delaware limited liability company




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                                          STEVEN S. OSCHER
                                        OSCHER CONSULTING
                                      LITIGATION BACKGROUND


                FIRM                   CASE NUMBER                                       CASE NAME

Brian T. McElfatrick            The Arbitration Tribunals of the    Avivah Digital Commerce, LLC, and Glenn Trommer
Bush Ross, P.A.                 American Arbitration                vs. Experimac Franchising, LLC
1801 N. Highland Avenue         Association
P.O. Box 3913                   Case No. 01-18-0001-7801
Tampa, Florida 33601
Phone: 813-224-9255

James S. Myers                  In the Circuit Court of the Ninth   Stacy Dalton as Personal Representative of the Estate of
McElroy, Deutsch, Mulvaney &    Judicial Circuit In and For         Robert P. Dalton, Jr. vs. Epoch Properties, Inc.; EPI
Carpenter, LLP                  Orange County, Florida              Maitland, LLC; and Epoch Maitland Station
201 E. Kennedy Boulevard        Case No. 2019-CA-006111-O           Apartments, LLC
Suite 815
Tampa, Florida 33602
Phone: 813-285-5515

Mark M. Wall                    In the Circuit Court of the         3MT Investments, LLC and 3MT Investments, LLC as
Hill Ward Henderson             Thirteenth Judicial Circuit In      member and manager of an on behalf of Fuel
101 E. Kennedy Boulevard        and For Hillsborough County,        Investments & Development, LLC v. DTT Acquisition
Suite 3700                      Florida                             Group, LLC, Downtown Acquisition Group, LLC, Fuel
Tampa, Florida 33602            Case No. 17-CA-000374               Group, LLC, Green Downtown Tampa, LLC, Jai Lak
Phone: 813-221-3900                                                 Wani, Vani Lalwani, and Kiran c. Patel

Dwight Lueck                    In the United States District       Delta T, LLC v. Dan's Fan City, Inc. and TroposAir,
Barnes & Thornburg, LLP         Court for the Middle District of    LLC
11 South Meridian Street        Florida Tampa Division
Indianapolis, Indiana           Case No. 8:19-cv-01731-VMC-
Phone: 317-236-1313             SPF

George Guerra                   In the Circuit Court of the         MGQ & Associates, Inc. v. Lee A Nimmo
Wiand Guerra King               Thirteenth Judicial Circuit in
5505 West Gray Street           and for Hillsborough County,
Tampa, Florida                  Florida Circuit Civil Division
Phone: 813-347-5102             Case No. 17-CA-8085-L

John Anthony                    United States Bankruptcy Court      Heritage Hotel Associates, LLC
Anthony & Partners, LLC         Middle District of Florida
100 South Ashley Drive          Tampa Division
Suite 1600                      Case No. 8-19-BK-09946-CED
Tampa, Florida                  Chapter 11
Phone: 813-273-5616
Suzanne E. Gilbert              In the Circuit Court of the Ninth   The Florida Department of Financial Services, as
Holland & Knight                Judicial Circuit in and for         Receiver for Physicians United Plan, Inc. v. Pacific
200 South Orange Avenue         Orange County, Florida              Western Bank Corporation
Suite 2600                      Case No. 2016-CA-004588-O
Orlando, Florida
Phone: 407-244-1142




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                                                  STEVEN S. OSCHER
                                                OSCHER CONSULTING
                                              LITIGATION BACKGROUND


                 FIRM                          CASE NUMBER                                       CASE NAME

Kevin Zwetsch                           In the Circuit Court of the          Claimcor, LLC v. Jeremy Menard, Warren Ritter and
Cantrell Zwetsch, P.A.                  Thirteenth Judicial Circuit in       Menard Adjusting
401 E. Jackson Street                   and for Hillsborough County,
Suite 2340                              Florida
Tampa, Florida                          Case No. 15-CA-002217
Phone: 813-448-2085

Scott Hutchens                          In the Circuit Court of the Tenth    Christi Wadsworth v. A & CC Express, Inc. and
Weekley Schulte Valdes, LLC             Judicial Circuit in and for Polk     Abraham J. Cannon
1635 North Tampa Street, Suite 100      County, Florida
Tampa, Florida 33602                    Case No. 2019-CA-002295000
Phone: 813-221-1154

Brad Barrios                            In the United States District        Smart Communications Holding, Inc. v. Correct
Bajo Cuva Cohen Turkel                  Court for the Middle District of     Solutions, LLC, a/k/a Correct Solutions Group, LLC
100 North Tampa Street, Suite 1900      Florida Tampa Division
Tampa, Florida 33602                    Case No. 8:20-cv-1469-T-30JSS
Phone: 813-443-2199

Thomas S. Cargill                       In the Circuit of the Ninth          Michael Mosler, II v. Seasons Service Select, LLC
Morgan & Morgan                         Judicial Circuit in and for
20 North Orange Avenue, Suite 1600      Orange County, Florida
Orlando, Florida 32801                  Case No. 2020-CA-005834-O
Phone: 407-245-3518

Bo Sellitti                             In the Circuit Court of the Sixth    Jason Williams v. Professional Home Supply, LLC and
Lieser Skaff                            Judicial Circuit in and for          Paul Mueller
403 N Howard Avenue                     Pinellas County, Florida
Tampa, Florida 33606                    Case No. 20-CA-003907
Phone: 813-251-8715

Michael J. McMullen                     JAMS Arbitration                     PGA Tournament Corporation, Inc. v. Lamington Farm
Cohen & McMullen                        140007164                            Club, LLC
1132 SE 3rd Avenue
Fort Lauderdale, Florida 33316
Phone: 954-523-7774

Matthew K. Fenton                       In the Circuit Court of the          George Katzaras v. P.R. Steelecoat, Inc.
Wenzel Fenton Cabassa                   Thirteenth Judicial Circuit of the
1110 North Florida Avenue, Suite 300    State of Florida in and for
Tampa, Florida 33602                    Hillsborough County
Phone: 813-223-6413                     Case No. 19-CA-002987

Jason P. Stearns                        In the United States District        Steel Supplements, Inc. v. Blitz NV, LLC
Freeborn                                Court for the Middle District of
201 N. Franklin Street, Suite 3550      Florida Tampa Division
Tampa, Florida 33602                    Case No. 8:20-cv-2971-T-
Phone: 813-488-2926                     02AEP




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                                                    STEVEN S. OSCHER
                                                  OSCHER CONSULTING
                                                LITIGATION BACKGROUND


                 FIRM                           CASE NUMBER                                      CASE NAME

Jody Valdes                              In the Circuit Court, Third         Logan Hoyles and Ashley Jenkins v. Brigam Cord
Weekley Schulte Valdes Murman Tonelli    Judicial Circuit of Florida, In     Goold and Alliance Dairies, LLP
1635 North Tampa Street, Suite 100       and For Suwannee County
Tampa, Florida 33602                     Case No. 19-119-CA
Phone: 813-221-1154

Heidi Eckert                             In the United States District       Brian J. Schell v. Eric Schellhardt, Marc Asbury and
Ford Harrison                            Court for the Southern District     Madison County
777 Bonhomme Avenue, Suite 1710          of Illinois
St. Louis, Missouri 63105                Case No. 3:19-cv-1326
Phone: 314-257-0303

Jeffrey J. Costolnick                    In the Circuit Court of the Ninth   Ryan Redmann v. Pandera Systems, LLC and Joshua R.
Ogletree, Deakins, Nash, Smoak &         Judicial Circuit In and For         Sutton
Stewart, P.C.                            Orange County, Florida Civil
191 Peachtree Street N.E., Suite 4800    Division
Atlanta, Georgia 30303                   Case No. 2019-CA-003356-O
Phone: 404-870-1797

Anthony S. Burt                          American Arbitration                Nutranext, LLC, f/k/a Wellnext, LLC v. Tagg Logistics,
ArentFox Schiff LLP                      Association International Centre    LLC
233 South Wacker Drive                   for Dispute Resolution Circuit
Suite 7100                               Civil Division
Chicago, IL 60606                        Case No. 01-20-0015-9952
Phone: (312) 258-5762

Suzanne Gilbert                          In the Circuit Court of the Ninth   ARP-8717 International, LLC v. Gala Enterprises of
Holland & Knight                         Judicial Circuit in and For         Central Florida, Inc.
200 South Orange Avenue                  Orange County, Florida Case
Suite 2600                               No. 2021-CA-000675-O
Orlando, Florida 32801
407-244-5143

Jerry Olivo                              In the Circuit Court of the         Marlin Construction Group, LLC v. Tyler Forrey,
Henderson, Franklin, Starnes             Twentieth Judicial Circuit in and   Danielle Forrey, Miles Garner, Roof Rx LLC, Island
1715 Monroe St.                          For Lee County, Florida Case        Life Charter Company, The Better Roof Guy and Miles
Fort Myers, Florida 33901                No. 20-CA-003288                    High LLC
239-344-1168

Eric Czelusta                            In the Circuit Court of the Fifth   Amy L. Holliday and Charles Holliday v. David L.
The Patient's Law Firm, P.A.             Judicial Circuit of the State of    Terzigni, DO, David L. Terzigni, DL, PA d/b/a Bayside
3411 Alternate 19, Suite A               Florida, in and for Hernando        Family Care
Palm Harbor, Florida                     County Civil Division Case No.
727-281-4357                             2020-CA-000794

Eric Czelusta                            In the Circuit Court of the Sixth   John Knutson and Julie Knutson v. Baycare Health
The Patient's Law Firm, P.A.             Judicial Circuit in and for         System, Trustees of Mease Hospital, Inc. d/b/a Mease
3411 Alternate 19, Suite A               Pinellas County, Florida Civil      Dunedin Hospital, Mark Chappell, M.D., Alicia
Palm Harbor, Florida                     Division Case No. 20-000289-        Londergan, PA, Coastline Emergency Physicians, LLC,
727-281-4357                             CI                                  Amy Mickler M.D., Radiology Associates of
                                                                             Clearwaters, M.D. PA, Patrick Mella, M.D., Minh Ngo,
                                                                             M.D., and Baycare Medical Group, Inc.



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                                                   STEVEN S. OSCHER
                                                 OSCHER CONSULTING
                                               LITIGATION BACKGROUND


                 FIRM                           CASE NUMBER                                       CASE NAME


Megan Collins                            In the Thirteenth Judicial Circuit   Tracie Renae Smith-Skinner v. Marisa Lauren Colina
Weekley Schulte Valdes Murman Tonelli    Court Hillsborough County,
1635 North Tampa Street, Suite 100       Civil Division Case No. 21-CA-
Tampa, Florida 33602                     004320
Phone: 813-221-1154

Ernest Leonard                           In the Circuit Court of the 18th     Community Care Health Network, LLC, d/b/a Matrix
Friedman & Feiger                        Judicial Circuit in and for          Medical Network v. Shahriar "James" Ekbatani, Ramin
5301 Spring Valley Rd., Suite 200        Seminole County, Florida Case        "Ray" Ekbatani, Shahrzad Ekbatani, as Trustee of
Dallas, Texas 75254                      No. 2019-CA-000999-15-K              Nobility Trust and Dignity Trust, Terrence Diaz, and
Phone: 972-788-1400                                                           Jerry Cox

Ashley Taylor                            In the Circuit Court of the          Coreen Frazier v. Impact RTO Florida, LLC d/b/a Rent-
Macfarlane Ferguson & McMullen           Eighth Judicial Circuit in and for   A-Center
201 N. Franklin Street, Suite 200        Levy County, Florida Case No.
Tampa, Florida 33602                     20-CA-000126
Phone: 813-273-4200

Jordan Shaw                              United States District Court         BG Strategic Advisors, LLC v. Freighthub, Inc.
Zebersky Payne Shaw Lewenz               Southern District of Florida Case
110 Southeast 6th Street, Suite 2900     No. 21-80299-DMM
Ft. Lauderdale, Florida 33301
Phone: 954-989-6333




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                                                                                                  Exhibit III

                     INFORMATION CONSIDERED

   •      PLD 037 2022-10-26 First Amended Complaint and Demand for a Jury Trial

          DISC 2023-03-10 Plaintiff Mutual of Omaha Mortgage, Inc.'s Second Amended Responses and
   •      Objections to Defendant Waterstone Mortgage Corporation's First Set of Interrogatories
   •      DISC 2023-03-17 Waterstone's Second Set of Interrogatories

   •      DISC 2023-03-17 Waterstone's Second Set of RFPs

   •      MOM 0000001-MOM 0010507

   •      DISC 2023-03-15 Exhibit 1 to Waterstone's second set of discovery - MOM-0003484.XLSX

   •      Mutual of Omaha Responses and Objections to Third Document Requests

   •      Mutual of Omaha Supplemental Responses and Objections to Third Document Requests (05.10.2023)
          Plaintiff Mutual of Omaha Mortgage, Inc.’s Responses and Objections to Defendant Waterstone
   •
          Mortgage Corporation’s Second Set of Interrogatories
          Plaintiff Mutual of Omaha Mortgage, Inc.’s Responses and Objections to Defendant Waterstone
   •
          Mortgage Corporation’s Second Set of Requests for Production of Documents
   •      DISC 2023-04-07 Waterstone's Third Set of RFPs

   •      MISC 2022-09-28 New Jersey - Closed Loans from June 16 - August 15.XLSX WMC 000679
          New Jersey Fundings through April 5, 2023, Ormond Beach Fundings through April 5, 2023, and Tampa
   •      Fundings through April 5, 2023 (WMC012767-012769)
   •      MISC 2022-09-28 Ormond Beach Closings from April 27 - June 27.XLSX WMC000680

   •      MISC 2022-09-28 Tampa - Closed Loans from June 16 - August 15.XLSX WMC000681

   •      D. Hutto Employment Agreement

   •      WMC003723, WMC011460

   •      Document Production (WMC009436 - WMC011812)
          MOM-0010964, MOM-0010965, MOM-0010988, MOM-0010989, MOM-0011012, MOM-0011013,
   •      MOM-0011025, and MOM-0011026.
   •      MOM-0011048, MOM-0011102, MOM-0011163

   •      Waterstone's Rule 30(b)(6) Deposition Notice

   •      DISC 2023-04-25 Waterstone's Amended 30(b)(6) deposition notice

   •      Jeff Gennarelli LinkedIn page

   •      Jeffrey Gennarelli rough and final deposition transcripts with exhibits, May 25, 2023
          “Branch P&Ls” - MOM-0010964, MOM-0010965, MOM-0010988, MOM-0010989, MOM-0011012,
   •      MOM-0011013, MOM-0011025, and MOM-0011026
   •      MBA Mortgage Finance Forecast dated May 19, 2023
          (1) Mutual 2019 Q1 includes $720,316 in loan volume (2.23% of total loan volume) from the acquired
   •      company BBMC. (2) Mutual Actual and Forecast Loan Volumes from Branch P&Ls and Damage Model
          (MOM-0003484). (3) MBA Actual and Forecast Loan Volumes from MBA Finance Forecast (May 2023)
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          MOM-0005885, MOM-0009201, MOM-0009245, MOM-0009248, MOM-0009246, MOM-0009254,
          MOM-0009261, MOM-0009313, MOM-0009323, MOM-0009324, MOM-0009325, MOM-0009326,
          MOM-0009327, MOM-0009328, MOM-0009329, MOM-0009330, 0009331, MOM-0009338, MOM-
          0009971, MOM-0009975, MOM-0009983, MOM-0009984, MOM-0009988, MOM-0009989, MOM-
   •      0009994, MOM-0009998, MOM-0010002, MOM-0010003, MOM-0010008, MOM-0010012, MOM-
          0010013, MOM-0010018, MOM-0010019, MOM-0010024, MOM-0010025, MOM-0010026, MOM-
          0010030, MOM-0010031, MOM-0010038, MOM-0010041, MOM-0010043, MOM-0010052, MOM-
          0010087, MOM-0010101, MOM-0010102, MOM-0010103, MOM-0010104, MOM-0010105, MOM-
          0010106, MOM-0010107, MOM-0010108, MOM-0010498, and MOM-0010503
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                                                                                                                                                         Exhibit IV

Potential Damages Calculation Active Customer Loans
Customer loan files started at Mutual that did not close at Mutual, but were subsequently closed at Waterstone




                                                Loan Value in                                                    Waterstone Closed Waterstone Closed   Time Lag
                  Last Name                    Mutual's Pipeline     Mutual Status Date     Mutual Status              Date           Loan Value       (Months)
Amaya                                                 $284,747          4/12/2022         Active                    6/15/2022              $276,892            2.1
Amico                                                   420,000         3/22/2022         Cond. Appr.                5/2/2022               420,000            1.4
Dolbin                                                  375,000         1/11/2022         Appr. w/ Cond.            1/13/2023               445,000           12.2
Jones                                                   336,700         3/17/2022         Cond. Appr.               6/30/2022               336,700            3.5
Leroux                                                  183,500          6/3/2022         Active                    7/20/2022               183,800            1.6
Maymo                                                    91,200         3/31/2022         Cond. Appr.               6/27/2022               109,250            2.9
Morales                                                 442,000         5/24/2022         Cond. Appr.               7/22/2022               510,581              2
Reyes                                                   429,000         4/25/2022         Cond. Appr.               7/25/2022               440,000              3
Tappin                                                  427,350         4/15/2022         Active                    5/18/2022               428,041            1.1
                                   Loan Volume      $2,989,497                                                                           $3,150,264

Potential Damages

Loan Volume                                            $2,989,497
Lost Corporate Profit Percentage                            0.86%

Potential Damages, Active Customer Loans               $25,709.67
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                                                                                                                                                                  Exhibit V


Potential Damages Calculation Prior Customer Loans
Customer had a loan file closed at Mutual and subsequently Waterstone closed a loan for that same customer.




                                                Loan Value in                                                 Waterstone Closed Waterstone Closed   Time Lag
                  Last Name                    Mutual's Pipeline Mutual Status Date    Mutual Status                Date           Loan Value       (Months)
Alonso                                                $261,900       4/12/2022      Loan Originated             11/29/2022              $230,300            7.7
Black                                                   266,000     11/10/2021      Loan Originated             12/14/2022               235,000           13.3
Casteneda                                               345,000      3/2/2022       App. Denied                  6/21/2022               382,000            3.7
Cosentino                                               272,792      2/17/2022      App. Denied                  5/31/2022               272,792            3.4
DeLigio                                                 700,000      8/6/2021       App. w/drawn                 9/23/2022               629,000           13.8
Jackson                                                 382,500      9/26/2019      File Closed                   3/1/2023               204,000           41.7
Jaramillo                                               535,000      4/13/2021      App. w/drawn                11/10/2022               491,000           19.2
Martin                                                  253,000      3/22/2021      Loan Originated              1/31/2023               267,093           22.7
Mathew                                                  333,841      6/15/2021      App. w/drawn                 12/2/2022               425,000           17.8
Ravelo                                                  230,000     11/18/2020      App. w/drawn                 7/15/2022               549,000           20.1
Sirois                                                  280,000      4/2/2021       Loan Originated              6/27/2022               412,000             15
                                   Loan Volume      $3,860,033                                                                        $4,097,185

Potential Damages

0 - 12 Month Subsequent Loans:
Loan Volume                                             $879,692
Lost Corporate Profit Percentage                           0.86%

Prior Customer Loans: 0 - 12 Months                    $7,565.35

12 - 18 Month Subsequent Loans:
Loan Volume                                           $1,579,841
Lost Corporate Profit Percentage                           0.86%                              Potential Damages from Prior Customer Loans
                                                                                                                  $33,196.28
Prior Customer Loans: 12 - 18 Months                  $13,586.63



18+ month Subsequent Loans:
Loan Volume                                           $1,400,500
Lost Corporate Profit Percentage                           0.86%

Prior Customer Loans: Over 18 Months                  $12,044.30
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                                                                                                                           Exhibit VI

                                             Lost Corporate Profit Percentage

Weight of Each Branch's Loan Volume (LV)
                                           Loan Volume (LV)(2)
  Branch          2019                2020                 2021                  2022             Total       % of Total
Tampa(1)         $115,699,761      $219,873,800         $260,657,942             $94,607,156  $690,838,659        62.50%
Daytona            77,737,560       119,309,249          162,536,877              54,551,735    414,135,421       37.50%
Total            $193,437,321      $339,183,049         $423,194,819            $149,158,891 $1,104,974,080      100.00%

Weighted Average Lost Corporate Profit Percentage
                                                                          (2)
                            Corporate Profits Earned Basis Points (BPS)
  Branch          2019               2020               2021                     2022          Average BPS     Weight
Tampa(1)                 0.53%               1.47%              0.80%                 0.43%           0.81%       62.50%
Daytona                  0.53%               1.47%              0.80%                 1.02%           0.96%       37.50%
                                                           Lost Corporate Profit Percentage           0.86%
Notes:
(1) The Paramus, NJ office is reported in the Tampa Branch P&L.
(2) Loan Volume and Corporate Profits Earned (BPS) per Mutual's Summary of Corporate Earnings Contribution
from Tampa and Daytona Branches
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                                                                                  Exhibit VII


                                  Daytona Branch
            Period              Manager Loan    Branch Loan     Manager LV as
            Ending    Manager   Volume (LV)     Volume (LV)      % Branch LV
          12/31/2019 Hutto       $30,265,429
                     Smith                -
                     Wolf          5,877,621
                       Total     $36,143,050     $78,192,180           46.22%
          12/31/2020 Hutto       $35,553,094
                     Smith         3,169,000
                     Wolf         18,008,196
                       Total     $56,730,290 $119,309,249              47.55%
          12/31/2021 Hutto       $53,614,540
                     Smith         4,717,975
                     Wolf         19,311,351
                       Total     $77,643,866 $162,536,877              47.77%
           6/30/2022 Hutto        $9,241,759
                     Smith         3,378,314
                     Wolf         11,805,357
                       Total     $24,425,430     $54,551,735           44.77%


                                  Tampa Branch
            Period              Manager Loan Branch Loan        Manager LV as
            Ending    Manager   Volume (LV)   Volume (LV)        % Branch LV
          12/31/2019 Smith       $13,327,074
                     Wolf                 -
                       Total     $13,327,074 $114,750,394              11.61%
          12/31/2020 Smith       $41,613,979
                     Wolf                -
                       Total     $41,613,979 $221,045,150              18.83%
          12/31/2021 Smith       $34,973,998
                     Wolf                -
                       Total     $34,973,998 $260,414,951              13.43%
           6/30/2022 Smith       $15,729,878
                     Wolf            245,200
                       Total     $15,975,078     $92,114,954           17.34%
